         Case 1:20-cr-00661-CM
         Case 1:20-cr-00661-CM Document
                               Document48
                                        47 Filed
                                             Filed 03/01/23
                                                   03/01/23 Page
                                                             Page 11of
                                                                     of11
                                         U.S. Department of Justice

                                                   United States Attorney
                                                   Southern District ofNew York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew's Plaza
                                                   New York, New York 10007



                                                    March 1, 2023

BYCM/ECF
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The Honorable Colleen McMahon
United States District Judge
Southern District of New York
                                                                                  OK
500 Pearl Street
New York, NY 10007                                                                 ~)Kr/__
       Re:    United States v. Amir Bruno Elmaani, 20 Cr. 661 (CM)

Dear Judge McMahon:

        The Government writes with the consent of the defendant to respectfully request that the
Court adjust the pre-trial schedule in this matter. The parties request that the Government's
deadline to file motions in limine and to give Rule 404(b) notice and the defendant's deadline to
file motions in limine be adjourned from March 3 and March 10, respectively, to March 17, 2023.
The parties would respond to each others' motions in limine by March 24, 2023. This would result
in the fully briefed motions being submitted to the Court on the same date-March 24, 2023-
before the April 24, 2023 trial date, as previously scheduled.


                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney for the
                                                    Southern District of New York



                                                By:_/s _ _ _ _ _ __
                                                  Drew Skinner
                                                  Assistant United States Attorney
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